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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                               CIVIL ACTION NO. 17-11011-GAO

                                       ANDREW MOBUS,
                                          Plaintiff,

                                                  v.

                  BARD COLLEGE, PETER LAIPSON, and SUSAN LYON,
                                   Defendants.


                                     PROCEDURAL ORDER
                                       December 6, 2019

O’TOOLE, S.D.J.

       Trial in this case will begin at 9:00 a.m. on April 27, 2020. The parties shall appear before

the Court for a final pretrial conference on April 9, 2020, at 2:00 p.m. Unless excused by the Court,

each party shall be represented at the pretrial conference by counsel who will conduct the trial.

Counsel shall confer with their clients and with each other no later than 14 days before the pretrial

conference to explore the possibilities of settlement and shall be prepared to advise the Court as to

the prospects of settlement.

       At least 21 days before the pretrial conference, counsel shall jointly file the following

documents:

       1. A joint pretrial memorandum, which sets forth the following information:

               a. a concise summary of the evidence that will be offered by the parties with

                   respect to both liability and damages (including special damages, if any);

               b. a joint stipulation of facts agreed to by the parties;

               c. a concise summary of the contested issues of fact;

               d. any jurisdictional questions;
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                e. any issues raised by pending motions;

                f. any issues of law, including evidentiary questions, together with supporting

                    authority;

                g. the probable length of trial based on a trial schedule of 9:00 AM to 1:00 PM

                    daily and whether jury or nonjury; and

                h. a list of the names and cities of witnesses who will testify at trial and the purpose

                    of the testimony, i.e., whether factual, medical, expert, etc.

        2. A joint list of exhibits to be introduced without objection.

        3. A joint list of proposed exhibits to be offered at trial as to which an opposing party has

            reserved the right to object.

        At least 21 days before the pretrial conference, counsel shall individually file the following

documents:

        1. Trial briefs;

        2. Any motions in limine or other requests regarding foreseeable disputes concerning

            evidentiary issues;

        3. Proposed jury instructions with citation to supporting authority;

        4. Proposed voir dire questions; and

        5. Proposed verdict forms.

        Any oppositions or responses to the pretrial filings, including motions in limine, shall be

filed at least 14 days prior to the pretrial conference.

        It is SO ORDERED.

                                                               /s/ George A. O’Toole, Jr.
                                                               Senior United States District Judge




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